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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION


UNITED STATES OF AMERICA,   )
                            )
         Plaintiff,         )
                            )
     vs.                    )                  Case No. 4:05CR0294 CEJ/TCM
                            )
RAMON MONTES-CASTILLO,      )
MARTIN OBREGON-RODALLEGAS, )
and MANUEL MONTES-CASTILLO, )
                            )
         Defendants.        )


                ORDER AND REPORT AND RECOMMENDATION
                  OF UNITED STATES MAGISTRATE JUDGE

        In accordance with the Memorandum filed herein,

        IT IS HEREBY ORDERED that the Motion of Defendant Ramon Montes-Castillo

for Government Agents to Retain Rough Notes [Doc. 82] is GRANTED in part and

DENIED in part..

        IT IS FURTHER ORDERED that the Motion of Defendant Ramon Montes-Castillo

for Discovery [Doc. 85] is GRANTED in part and DENIED in part.

        IT IS FURTHER ORDERED that the Motion of Defendant Ramon Montes-Castillo

for Discovery of Rule 404(b) Evidence [Doc. 86] is GRANTED in part and DENIED in

part.

        IT IS FURTHER ORDERED that the Motion of Defendant Ramon Montes-Castillo

for Disclosure of Impeaching Information [Doc. 87] is GRANTED in part and DENIED in

part.
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       IT IS FURTHER ORDERED that the Motion of Defendant Ramon Montes-Castillo

for Specific Kyles and Brady Information [Doc. 90] is DENIED.

       IT IS FINALLY ORDERED that the Motion of Defendant Ramon Montes-Castillo

for Pretrial Determination of Admissibility of Con-Conspirators' Statements [Doc. 83] is

DENIED.

       IT IS HEREBY RECOMMENDED that Motion of Ramon Montes-Castillo for

Severance [Doc. 84] should be DENIED.

       IT IS HEREBY RECOMMENDED that the Motions of Defendant Ramon Montes-

Castillo to Suppress the Contents of Any Electronic Surveillance [Docs. 89, 118]; Defendant

Martin Obergon-Rodallegas to Suppress Fruits of Illegal Electronic and Other Surveillance

[Doc. 134]; and Defendant Manuel Montes-Castillo to Suppress Electronic Surveillance

[Doc. 131] should be DENIED.

       IT IS FURTHER RECOMMENDED that Defendants' Motions to Suppress the

electronic surveillance regarding the pen registers and trap and trace in § 2703 orders [Docs.

89, 118, 131, 134] should be DENIED.

       IT IS FURTHER RECOMMENDED that Defendants' Motions to Suppress

Evidence, including videotaped surveillance, controlled purchases of illegal drugs, search

warrants, vehicle searches, and consent searches [Docs. 129, 133] should be DENIED.

       IT IS FINALLY RECOMMENDED that Defendants' Motions to Suppress

Statements [Docs. 130, 133] should be DENIED.

       The parties are advised that they have eleven (11) days in which to file written

objections to this Recommendation and the Memorandum incorporated herein pursuant to


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28 U.S.C. § 636(b)(1), unless an extension of time for good cause is obtained, and that

failure to file timely objections may result in waiver of the right to appeal questions of fact.

See Thompson v. Nix, 897 F.2d 356 (8th Cir. 1990).



                                            /s/ Thomas C. Mummert, III
                                            THOMAS C. MUMMERT, III
                                            UNITED STATES MAGISTRATE JUDGE

Dated this 4th day of November, 2005.




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